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                        4 Attorney for Defendant
                          CARLOS DAVID TAFOYA-RAMOS
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                        6
                                                    IN THE UNITED STATES DISTRICT COURT
                        7
                                                       EASTERN DISTRICT OF CALIFORNIA
                        8

                        9
                            UNITED STATES OF AMERICA,                  )       Case No. 1:15-cr-00288-NONE-SKO
                       10                                              )
                                          Plaintiff,                   )       STIPULATION RE BRIEFING
                       11                                              )       SCHEDULE; ORDER
                                                                       )
                       12                                              )
                                                                       )
                       13                     v.                       )
                                                                       )
                       14                                              )
                                                                       )
                       15                                              )
                            CARLOS DAVID TAFOYA-RAMOS                  )
                       16                                              )
                                          Defendant.                   )
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                                   On June 18, 2020, this Court instructed counsel to confer and attempt to stipulate to a
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                            briefing schedule within five days, that same day Sally Vecchiarelli was appointed as Defense
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                            Counsel. IT IS HEREBY STIPULATED by and between the parties through their respective
                       22
                            counsel, KATHLEEN ANNE SERVATIUS, Assistant United States Attorney, counsel for
                       23 plaintiff, and SALLY VECCHIARELLI, Appointed Counsel for defendant CARLOS DAVID

                       24 TAFOYA-RAMOS, that the briefing schedule be set as follows:

                       25

                       26          July 24, 2020:        Defendant’s filing of 18 U.S.C. Section 3582(c) Motion

                       27          August 7, 2020:       Plaintiff’s Response to Defendant’s filing of 18 U.S.C. Section
                                                         3582(c) Motion
                       28
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                                                        STIPULATION re: BRIEFING SCHEDULE
                            Case 1:15-cr-00288-AWI-SKO Document 504 Filed 06/25/20 Page 2 of 2



                        1         August 21, 2020:      Defendant’s Reply
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                        3                                                         Respectfully Submitted,
                                                                                  Sally Vecchiarelli
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                        5
                            DATED: June 24, 2020                        By        /s/ Sally Vecchiarelli
                        6                                                         SALLY VECCHIARELLI
                                                                                  Appointed Counsel
                        7                                                         Attorney for Defendant
                                                                                  CARLOS DAVID TAFOYA-RAMOS
                        8

                        9 DATED: June 24, 2020                          By        /s/ Kathleen Anne Servatius
                                                                                  KATHLEEN ANNE SERVATIUS
                       10                                                         United States Attorney
                                                                                  Attorney for Plaintiff
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                       12
                                                                       ORDER
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                       14         The above stipulated schedule is adopted in full.
                       15 IT IS SO ORDERED.

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                               Dated:   June 24, 2020
                       17                                                        UNITED STATES DISTRICT JUDGE

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                                                       STIPULATION re: BRIEFING SCHEDULE
